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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
                                                                                                  10/20/2020
 JOSE MOLINA, et al.


                                                Plaintiff,                    ORDER SCHEDULING
                                                                              SETTLEMENT CONFERENCE
                             -against-
                                                                              18-CV-12225 (VSB)

  GLAZE 4TH AVE LLC, et al.,

                                                 Defendants.
-----------------------------------------------------------------X
KATHARINE H. PARKER, UNITED STATES MAGISTRATE JUDGE

         A telephonic settlement conference in this matter is scheduled for Monday, December

21, 2020 at 10:00 a.m. Counsel for the parties are directed to call Judge Parker’s court

conference line at the scheduled time. Please dial (866) 434-5269, Access code: 4858267.

Corporate parties must send the person with decision making authority to settle the matter to

the conference. The parties are instructed to complete the Settlement Conference Summary

Report and prepare pre-conference submissions in accordance with the Judge Parker’s

Individual Rules of Practice. Pre-conference submissions must be received by the Court no later

than December 14, 2020 by 5:00 p.m.


         SO ORDERED.

Dated: October 20, 2020
       New York, New York

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                                                                     KATHARINE H. PARKER
                                                                     United States Magistrate Judge
